Case 1:09-cv-00284-TMH Document 1-1 Filed 11/10/09 Page 1 of 52

EXHIBIT A

Part 1 of 2
 

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Case 1:09-cv-00284-TMH Document 1-1 Filed 11/10/09 Page 2 of 52
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“IN ‘te COURT OF COMMON PLRAS OF VENANGO. COUNTY, PENNSYLVANIA an
CIVIL DIVISION let

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Plaintiff, NO. L13- 2007
a TYPE OF PLEADING:

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“vysIONQUES®, INC, ‘an Arizona PRAECIPE FOR WRIT OF SUMMONS |

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ce FILED-ON BEHALF OF PLAINTIFF. 7

Defendant. a
COUNSEL OF RECORD FOR THIS PARTY: oo

et mo, ROLF LOUIS PATBERG, ESQUIRE
A PA LD. NO.: 65185

PATBERG, CARMODY & GING
DEUTSCHTOWN CENTER ne
801 VINIAL STREET - THIRD FLOOR |
PITTSBURGH, PA‘15212 . © Ce

- FORVERIAL DEMANDED © (412) 232-3500

 

 
Case 1:09-cv-00284-TMH Document 1-1 Filed 11/10/09 Page 3 of 52
Vislonquest Fax:5208813269 | Apr 3 2008 12:43pm FUUb/UUD

IN Y THB COURT OF COMMON PLEAS OF VENANGO COUNTY, PENNSYLVANIA:
CIVIL DIVISION

ve : “osnit VANCE, , ) CIVIL DIVISION
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Defendant JURY TRIAL DE ED

PRARCIPE J FOR WRIT OF SUMMONS |

Oy plotmonorary

. ' Blease‘issue a Writ of Summons in the above-captioned matter. A Jury Trial is demanded, °

  
  

RESPECTFULLY SUBMITTED: -
OD CS IKCARMODY.& GING
‘DATES, 23-97 ze (O 7 7 a

 

“Bie are equi
PA LD

Patberg, Carmody & Ging

_ Deéutschtown Center
801 Vinial Street- Third Floor.
Pittsburgh, PA 15212 ,
(412) 232-3500

Attorney for Plaintiff.

 
Case 1:09-cv-00284-TMH Document1-1 Filed 11/10/09 Page 4 of 52
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IN THE COURT OF COMMON PLEAS OF VENANGO COUNTY, PENNSYLVANIA

CIVIL PYVISION
JOSEPH VANCE, CIVIL DIVISION
Plaintiff, NO.: 273 of 2009
Vv. TYPE OF PLEADING:
VISIONQUEST, INC., an Arizona PRAECIPE TO REISSUE WRIT OF
Corporation, SUMMONS
Defendant, FILED ON BEHALF OF PLAINTIFF

COUNSEL OF RECORD FOR THIS PARTY:

ROLF LOUIS PATBERG, ESQUIRE
PA LD. NO-: 65185

PATBERG, CARMODY & GING
DEUTSCHTOWN CENTER
801 VINIAL STRERT - THIRD FLOOR
PITTSBURGH, PA 15212

T DEMANDE (412) 232-3500

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Case 1:09-cv-00284-TMH Document 1-1 Filed 11/10/09 Page 5 of 52

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IN THE COURT OF COMMON PLEAS OF VENANGO COUNTY, PE OURT
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JOSEPH VANCE, ) CIVIL DIVISION ab OAghtlLer
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Plaintiff, ) NO.: 273 of 2009 wen OF couRTe?
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VISIONQUEST, INC., an Arizona )
Corporation, }
)
Defendant. ) JURY D ED
PRAECIPE TO REISSUE WRIT OF SUMMONS 2 BS
SS mez
TO: PROTHONOTARY = eRe
+ B82
Please reissue the Writ of Summons in the above-captio om ane
ptioned matter. A Jury Trt isa
‘ rm 7S
demanded, =

RESPECTFULLY SUBMITTED:

ae Tt

.» PATBERG;CARMODY & GING

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- u. f ‘By Beal es ig . } wee a =
“Raff Louis\pathérg, Bsquire
PA LD. Mo. 265185
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DATE: >

“a a5

  
  

 

Patberg, Carmody & Ging
Deutschtown Center

801 Vinial Street - Third Floor
Pittsburgh, PA 15212

(412) 232.3500

Attormey for Plaintiff,
JIU, TRIAL DE D

G&G d GS69IAD9RD ‘ON/EO' EL ‘LS/DO EL 60.62 “* (NHL)

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Case 1:09-cv-00284-TMH Document 1-1 Filed 11/10/09 Page 6 of 52
Vislonquest Fax:4208813269 = Apr 23 2009 Uts22pm Puua/uua

mn

CE Cc OF SER
L, Rolf Louis Patberg, Esquire, hereby certifies that a true and correct copy of the foregoing

Praecipe to Reissue Writ of Summons was forwarded this > day of April, 2009 via postage

Pam yet eee

prepaid United States Mail to the following:

Vision Quest National, Ltd.
600 North Swan Road
Tucson, AZ 85711

Vision Quest National, Ltd.
352 Marshallton-Thomdal Road
Downingtown, PA 19335

   
   

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KE pen of ki a
Louis Pathetg, Esquire” *y

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Case 1:09-cv-00284-TMH

Document 1-1 Filed 11/10/09 Page 7 of 52

IN THE COURT OF COMMON PLEAS OF VENANGO COUNTY, PENNSYLVANIA

JOSEPH VANCE,

Plaintiff,

V.

VISIONQUEST NATIONAL, LTD.,

Defendant.

CIVIL DIVISION
NO. 273 Of 2009

PRAECIPE FOR RULE TO FILE
COMPLAINT

Filed on behalf of: Defendant VisionQuest
National, Ltd.

Counsel of Record for this Party:

Gregory A. Miller (PA 69807)
gregory. miller@bipc.com

Erin J. McLaughlin (PA 202044)
erin. mclaughlin@bipc.com

BUCHANAN INGERSOLL & ROONEY PC
One Oxford Centre

301 Grant Street, 20th Floor

Pittsburgh, PA 15219

Phone: 412-562-3960/392-2090

Fax: (412) 562-1041
Case 1:09-cv-00284-TMH Document 1-1 Filed 11/10/09 Page 8 of 52

IN THE COURT OF COMMON PLEAS OF VENANGO COUNTY, PENNSYLVANIA
CIVIL DIVISION

JOSEPH VANCE,

Plaintiff,
NO. 273 of 2009
v.

VISIONQUEST NATIONAL, Ltd.,

Defendant.

PRAECIPE FOR RULE TO FILE COMPLAINT
TO THE PROTHONOTARY:
Kindly issue a Rule upon the Plaintiff directing him to file a complaint in the above-
captioned action.

BUCHANAN INGERSOLL & ROONEY PC

brand Inc Jpaght

Gregory A. Miller (P4 69807) (/
gregory. miller@bipe.com

Erin J. McLaughlin (PA 202044)
erin. mclaughlin@bipc.com

BUCHANAN INGERSOLL & ROONEY PC
One Oxford Centre

301 Grant Street, 20th Floor

Pittsburgh, PA 15219

Phone: 412-562-3960/392-2090

Fax: (412) 562-1041

Attorneys for Defendant VisionQuest
National, Ltd.

 
Case 1:09-cv-00284-TMH Document 1-1 Filed 11/10/09 Page 9 of 52
{

IN THE COURT OF COMMON PLEAS OF VENANGO COUNTY, PENNSYLVANIA
CIVIL DIVISION

JOSEPH VANCE,
Plaintiff,
NO, 273 of 2009
Vv.
VISIONQUEST NATIONAL, Ltd.,
Defendant.

RULE TO FILE COMPLAINT AGAINST JOSEPH VANCE

AND NOW, this day of , 2009, a Rule is hereby granted upon Plaintiff
to file a Complaint within twenty (20) days of service hereof or suffer the entry of a Judgment

Non Pros.

 

PROTHONOTARY
Case 1:09-cv-00284-TMH Document 1-1 Filed 11/10/09 Page 10 of 52

CERTIFICATE OF SERVICE

I hereby certify that a true and correct copy of the within Praecipe for Rule to File
Complaint was served upon the following counsel of record by United States mail, first class,
postage prepaid, on this 24th day of April, 2009:

Rolf Louis Patberg
Deutschtown Center

801 Vinial Street - Third Floor
Pittsburgh, PA 15212

Ard Dghagle

Brin J. MéLaughli
Case 1:09-cv-00284-TMH Document 1-1 Filed 11/10/09 Page 11 of 52
Visionquest Fax :5208813269 Apr 6 2009 11:32am PA03/012

IN THE COURT OF COMMON PLEAS OF VENANGO COUNTY, PENNSYLVANIA

CIVIL DIVISION
JOSEPH VANCE, CIVIL DIVISION
Plaintiff NO.: 273 of 2009
v. TYPE OF PLEADING:
VISIONQUEST, INC., an Arizona EMERGENCY MOTION TO AMEND
Corporation, CAPTION
Defendant. FILED ON BEHALF OF PLAINTIFF

COUNSEL OF RECORD FOR THIS PARTY:

ROLF LOUIS PATBERG, ESQUIRE
PA LD, NO.: 65185

PATBERG, CARMODY & GING
DEUTSCHTOWN CENTER
801, VINIAL STREET - THIRD FLOOR
YT DE ED PITTSBURGH, PA 15212
(412) 232-3500
Case 1:09-cv-00284-TMH Document 1-1 Filed 11/10/09 Page 12 of 52
Visionquest Fax : 5208819289 Apr 6 2009 11:32am Pa04/012

IN THE COURT OF COMMON PLEAS OF VENANGO COUNTY, PENNSYLVANIA”

CIVIL DIVISION
JOSEPH VANCE, ) CIVIL DIVISION
)
Plaintiff, ) NO.: 273 of 2009
) :
v. )
)
VISIONQUEST, INC,, an Arizona )
Corporation, )
)
Defendant. ) JURY TRIAL DEMANDED

NOTICE TO OPPOSING COUNSEL

YOU AREHEREBY NOTIFIED THAT THE ATTACHED MOTION WILLBE FILED ON
APRIL 6, 2009.

Case No.: 273 of 2009
Type of Motion: Motion to Amend Caption
Filed on behalfof: Joseph Vance, Plaintiff
CERTIFICATE NOTICE AND SERVICE.

The undersigned represents that a true and cotrect copy of this Motion and Proposed Order
have been served on all parties by Federal Express.

If by First Class Mail, notice will be at least seven (7) business days before filing. Ifby Fax
or Hand Delivery, notice will be at least five (5) business days before filing.

FORMATION COURT ADMINIST: OR
Has a Judge heard any matter previously in this case? ( ) Yes (x) No

If yes, which Judge? ( ) Judge Oliver Lobaugh ( ) President Judge WH. William White
( x) Other - Unknown

Name of opposing counsel, if known: Unknown

Counsel for Movant is unavailable for argument on the Motion on the following dates:

 

 

 

 

 

 

 
Case 1:09-cv-00284-TMH Document 1-1 Filed 11/10/09 Page 13 of 52
Vis ionquest Fax: 5208813269 Apr 6 2009 11:33am PO05/012

MOTION CERTIFICATION

Counsel does heteby certify that counsel has not conferred with opposing counsel.

Date: 4-3 OF ~O q

 

3 Pat arg Ps re
Baty U

Attorney for Movant
Case 1:09-cv-00284-TMH Document 1-1 Filed 11/10/09 Page 14 of 52
Visionquest Fax ;5208813269 Apr 6 2009 11:33am PO06/012

IN THE COURT OF COMMON PLEAS OF VENANGO COUNTY, PENNSYLVANIA

CIVIL DIVISION |
JOSEPH VANCE, ) CIVIL DIVISION
)
Plaintiff, - ) NO.: 273 of 2009
)
v. )
)
VISIONQUEST, INC., an Arizona )
Corporation, )
)
Defendant. ) SURY T. DE DED

EMERGENCY MOTION TQ. AMEND CAPTION

AND NOW, comes the Plaintiff, Joseph Vance, by and through his attorneys, Rolf Louis
Patberg, Esquire, and the law firm of Patberg, Carmody & Ging, and files the foregoing Motion to
Amend Caption and in support thereof avers as follows: |

1, The above-captioned matter arises from the employment of Joseph Vance by the
Defendant in its Venango County location. .

2. The above-captioned matter was originally filed against Visionquest, which
apparently is the trade name for VisionQuest National, Ltd. :

3. The Defendant operates nationwide youth facilities.

A, Defendant was served on March 30, 2009 at its headquarters in Arizona.

5. It appears that the Defendant is also mown a8 VisionQuest National, Ltd.

6. It appears that the proper corporate name is VisionQuest National, Ltd.

7. Therefore, Plaintiff requests this Honorable Court allow him to amend the caption

to name VisionQuest National, Ltd. in conformance with the attached Order.
Case 1:09-cv-00284-TMH Document 1-1 Filed 11/10/09 Page 15 of 52
Visionquest Fax:5208813269 Apr & 2009 11:33am PO0?/012

WHEREFORE, Plaintiff respectfully requests this Honorable Court issue and Order
substantially in the form attached hereto.
RESPECTFULLY SUBMITTED:

ne GING
pate: 4~ 3-0 7 By Poe,
Louis Papbeag) Bagi (_)
PA LD. No.

Patberg, Carmody & Ging
Deutschtown Center

801 Vinial Street - Thitd Floor
Pittsburgh, PA 15212

(412) 232-3500

 

 

 

Attommey for Plaintiff.

¥ TRI EMAN,
Case 1:09-cv-00284-TMH Document 1-1 Filed 11/10/09 Page 16 of 52
Visionquest Fax: §208813269 Apr 6 2009 14:33am P008/012

IN THE COURT OF COMMON PLEAS OF VENANGO COUNTY, PENNSYLVANIA

CIVIL DIVISION
JOSEPH VANCE, ) CIVIL DIVISION
)
Plaintiff, ) NO.: 273 of 2009
)
v. )
)
VISIONQUEST, INC., an Arizona )
Corporation, )
) :
Defendant. ) JU. RIAL DE ED
ORDER OF COURT
AND NOW, to-wit, this day of , 2009, it is: hereby

ORDERED, DECREED and ADJUDGED that the Plaintiffs Motion to Amend Caption is

GRANTED. The caption shall be amended as follows:

JOSEPH VANCE, ) CIVIL DIVISION
Plaintiff, NO.: 273 of 2009
‘
VISIONQUEST NATIONAL, LTD., alkfa
VISIONQUEST, )
Defendant. JURYT MANDE

Said amendment of caption shall relate back to the date of filing of March 4, 2009.

BY THE COURT;
Case 1:09-cv-00284-TMH Document 1-1 Filed 11/10/09 Page 17 of 52
Vis lonquest Fax:5208813269 fpr 6 2009 11:34am PN09/012

CERTIFICATE OF SERVICE
I, Rolf Louis Patberg, Esquire, hereby certifies that a true and correct copy of the foregoing
Motion to Amend Caption was forwarded this : ) day of Apxil, 2009 via postage prepaid United

States Mail to the following:

Vision Quest National, Lid. .
600 North Swan Road
Tucson, AZ 85711

Vision Quest National, Ltd.
352 Marshallton-Thorndal Road
Downingtown, PA 19335

 

 
Case 1:09-cv-00284-TMH Document 1-1 Filed 11/10/09 Page 18 of 52

IN THE COURT OF COMMON PLEAS OF VENANGO COUNTY, PENNSYLVANIA
CIVIL DIVISION

JOSEPH VANCE,

Plaintiff,
Vv
VIS{ONQUEST, JINC., an Arizona
Corporation,
Defendant.
JURY TRIAL DEMANDED

 

CIVIL DIVISION

NO,: 273 of 2009

TYPE OF PLEADING:

REPLY TO MOTION FOR PROTECTIVE
ORDER TO PROHIBIT FPRE-
COMPLAINT DISCOVERY

FILED ON BEHALF OF PLAINTIFF

- COUNSEL OF RECORD FOR THIS PARTY:

PA 1D, NO.: 65185

PATBERG, CARMODY & GING
DEUTSCHTOWN CENTER

801 VINIAL STREET - THIRD FLOOR
PITTSBURGEL, PA 15212

(412) 232-3500
Case 1:09-cv-00284-TMH Document 1-1 Filed 11/10/09 Page 19 of 52

IN THE COURT OF COMMON PLEAS OF VENANGO COUNTY, PENNSYLVANIA

CIVIL DIVISION
JOSEPH VANCE, ) CIVIL DIVISION
)
Plaintiff, ) NO.: 273 of 2009
)
v, )
)
VISIONQUEST, INC,, an Arizona )
Corporation, )
)

Defendant. ) JURY TRIAL DEMANDED

 

REPLY TO MOTION FOR PROTECTIVE ORDER TO PROBBIT
PRE-COMPLAINT DISCOVERY

AND NOW, comes the Plaintiff, by and through his counsel, Rolf Louis Patherg, Esquire,
and the law firm of Patherg, Carmody & Ging, and files the foregoing Reply to Motion for Pratective

Order ta Prohibit Pre-Complaint Discovery and in support thereof avers as follows:

1, ‘The averments of paragraph 1 are admitted.
2, The averments of paragraph 2 are admitted,
3. The averments of paragraph 3 are admitted,
4. The averments of paragraph 4 are admitted,
5, The averments of paragraph 5 are denied, The request for discovery and pleadings

in this matter are expressly required in order to properly prepare Complaints in this case. As
contemplated by the Pennsylvania Rules of Civil Procedure, the Plaintiffs have provided an
extensive introductory statement explaining the natyre and extent of the anticipated allegations in
the case,

6. The averments of paragraph 6 are admitted.
Case 1:09-cv-00284-TMH Document 1-1 Filed 11/10/09 Page 20 of 52

7 The averments of paragraph 7 are conclusions of law to which no responsive pleading
is required, To the extent a responsive pleading is required, the portions that are within quotations
of paragraph 7 appear to accurately reflect Pennsylvania Rule of Civil Procedure 4003.8.

&. The averments of paragraph & are partially admitted. First, the Plaintiff has
established that he requires the information regarding Vision Quest to properly prepare the
Complaint. For example, the Plaintiffrequested a copy of his personnel file, which was denied by
the Defendant. Second, the request described, in detail, the nature and anticipated extent of the
claim,

9. The averments of paragraph 9 are specifically denied. The precise reasons and
circumstances surrounding his termination are set forth in his personnel file, which the Defendant
has refused to produce.

10. ‘Phe averments of paragraph 10 are denied. An extensive introductory statement is
set forth.

ll. Plaintit’s discovery requests speal for themselves. A true and correct copy is
attached as Exhibit A.

12, The averments of paragraph 12 are denied. The specific information will, in fact,
advance the Plaintiff's preparation of the Complaint, as this is information within the exclusive
province of the Defendant.

13. The averments of paragraph 13 are specifically denied. The purpose of the Writ of
Summons was to toll the statute of Limitations for the whistle blower/wrongful termination claims.
Ry statute, the statute of limitations on such a claim is six (6) months under the Pennsylvania
Whistle Blower Law, 43 P,S, §1421. The Defendants, since this time, have ruled the Plaintiff to file
a Complaint. As such, in order to meet the statutory requirement to make the claim timely, it is

necessary that the Plaintiff receive said information.
Case 1:09-cv-00284-TMH Document 1-1 Filed 11/10/09 Page 21 of 52

14, The averments of paragraph 14 are denied.

18. For the reasons set forth in the herein Reply and the Defendant’s prior refusal to
produce the personnel file, Plaintiffis entitled to Pre-Complaint Discovery.

WHEREFORE, Plaintiff respectfully requests this Honorable Court issue an Order denying

the Defendant’s Motion for Protective Order.

RESPECTPULLY SUBMITTED:

 
   

5 Ab-OF

DATE:

 

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PA LD. No. £85

PATBERG, CARMODY & GING
Deutschtown Center

801 Vinial Street - Third Floor
Pittsburgh, PA 15212

(412) 232-3500

Attomey for Plaintiff

 
Case 1:09-cv-00284-TMH Document 1-1 Filed 11/10/09 Page 22 of 52

CERTIFICATE OF SERVICK
I, Rolf Louis Patherg, Esquire, hereby certifies that a true and correct copy of the foregoing
Reply to Motion for Protective Order was forwarded this a 6 ray of May, 2009 via Facsimile and

E-Mail to the following:

Brin J. McLaughlin, Esquire
One Oxford Centre - 20" Floor
301 Grant Street
Pittsburgh, PA 15219
Facsimile: 562-1041

&-mail: erinmelanghlin@bipe.com

 

 

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Case 1:09-cv-00284-TMH Document 1-1 Filed 11/10/09 Page 23 of 52

IN THE COURT OF COMMON PLEAS OF VENAN GO COUNTY, PENNSYLVANIA

JOSEPH VANCE,
Plaintiff,
Vv.
VISIONQUEST NATIONAL, LTD.,

Defendant.

CIVIL DIVISION
NO. 273 Of 2009

PRAECIPE TO BE PLACED ON
ARGUMENT LIST

Filed on behalf of: Defendant VisionQuest
National, Ltd.

Counsel of Record for this Party:

Gregory A. Miller (PA 69807)
gregory miller@bipc.com

Erin J. McLaughlin (PA 202044)
erin, mclaughlin@bipc.com

BUCHANAN INGERSOLL & ROONEY PC
One Oxford Centre

301 Grant Street, 20th Floor

Pittsburgh, PA 15219

Phone: 412-562-3960/392-2090

Fax: (412) 562-1041
Case 1:09-cv-00284-TMH Document 1-1 Filed 11/10/09 Page 24 of 52

IN THE COURT OF COMMON PLEAS OF VENANGO COUNTY, PENNSYLVANIA
CIVIL DIVISION

JOSEPH VANCE,
Plaintiff,
NO, 273 of 2009
v.

VISIONQUEST NATIONAL, Ltd.,

Defendant.

PRAECIPE TO BE PLACED ON ARGUMENT LIST
TO THE PROTHONOTARY:
Kindly place the Defendant's Motion for Protective Order to Prohibit Pre-Complaint
Discovery in the above-captioned matter on the next available argument list scheduled for
May 27, 2009.

BUCHANAN INGERSOLL & ROONEY PC

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 GaScoy A. Mil ler (PA p93og)
sregory.miller@bipc.com

Erin J, McLaughlin (PA 202044)
erin mmclaughlin@bipc.com

 

 

BUCHANAN INGERSOLL & ROONEY PC
One Oxford Centre

301 Grant Street, 20th Floor

Pittsburgh, PA 15219

Phone: 412-562-3960/392-2090

Fax: (412) 562-1041

Attorneys for Defendant VisionQuest
National, Ltd.
Case 1:09-cv-00284-TMH Document 1-1 Filed 11/10/09 Page 25 of 52

CERTIFICATE OF SERVICE

Thereby certify that a true and correct copy of the within Praecipe to be Placed on
Argument List was served upon the following counsel of record by United States mail, first
class, postage prepaid, on this 28th day of April, 2009:

Rolf Louis Patberg
Deutschtown Center

801 Vinial Street - Third Floor
Pittsburgh, PA 15212

a

Erin J. McLaugtijid UV
Case 1:09-cv-00284-TMH Document 1-1 Filed 11/10/09 Page 26 of 52
IN THE COURT OF COMMON PLEAS OF VENANGO COUNTY, PENNSYLVANIA

VANCE JOSEPH

a VERSUS

. SIONQUEST NATIONAL LTD A/K/A
VISIONQUEST

CIVIL ACTION
No. 2009-00273
RULE TO FILE COMPLAINT

TO:
VANCE JOSEPH

i

You are ruled to file Complaint within 20
days after Service of Rule or suffer the
entry of the Judgment of Non Pros.’

A,

Peggy L. Miller, PROTHONOTAR

 

, DEPUT
Date: 4/27/2009

Plaintiff Attorney PATBERG ROLF LOUIS

Service of the foregoing Rul

 

is hereby accepted

 

Attorney
Case 1:09-cv-00284-TMH Document 1-1 Filed 11/10/09 Page 27 of 52

 

IN THE COURT OF COMMON PLEAS OF VENANGO COUNTY, PENNSYLVANIA

JOSEPH VANCE,
Plaintiff,
Vv.
VISIONQUEST NATIONAL, LTD.,

Defendant.

CIVIL DIVISION
No. 273 of 2009

MOTION FOR PROTECTIVE ORDER
TO PROHIBIT PRE-COMPLAINT
DISCOVERY

Filed. on behalf of: Defendant VISIONQUEST
National, Ltd.

Counsel of Record for this Party:

Gregory A. Miller (PA 69807)
srepory.miller@bipc.com

Erin J. McLaughlin (PA 202044)
erin. mclaughlin@bipc.com

BUCHANAN INGERSOLL & ROONEY PC
One Oxford Centre

301 Grant Street, 20th Floor

Pittsburgh, PA 15219

Phone: 412-562-3960/392-2090

Fax: (412) 562-1041
Case 1:09-cv-00284-TMH Document 1-1 Filed 11/10/09 Page 28 of 52

IN THE COURT OF COMMON PLEAS OF VENANGO COUNTY, PENNSYLVANIA
CIVIL DIVISION

JOSEPH VANCE,
Plaintiff,
No. 273 of 2009
v.
VISIONQUEST NATIONAL, LTD.,
Defendant.

MOTION FOR PROTECTIVE ORDER
TO PROHIBIT PRE-COMPLAINT DISCOVERY

AND NOW, comes the Defendant, VisionQuest National, Ltd, ("VisionQuest") by and.
through its attorneys, BUCHANAN INGERSOLL & ROONEY PC, and files this Motion For

Protective Order To Prohibit Pre-Complaint Discovery, and in support thereof avers as follows:

1. Plaintiff filed a Praecipe for Writ of Summons in the above-captioned case on
Match 5, 2009,
2. Plaintiff also filed a complaint with the Pennsylvania Human Relations

Commission ("PHRC") alleging age discrimination on or about April 3, 2009.

3. To date, Plaintiff has not filed a complaint in the above-captioned case.

4, On April 7, 2009, Plaintifé, seeking pre-complaint discovery, served VisionQuest
with Plaintiff's First Set of Interrogatories and Requests for Production of Documents, a copy of
which is attached as Exhibit A (the "Discovery Requests").

5. A review of the discovery requests reveals that they are no different than standard,
post-complaint discovery requests. As such, this discovery is unwarranted until a Complaint is

filed and the pleadings are closed.

 

! VisionQuest, however, did not receive Plaintiff's First Set of Interro gatories and Requests for Production of
Documents until April 13, 2009.
Case 1:09-cv-00284-TMH Document 1-1 Filed 11/10/09 Page 29 of 52

6. In the Discovery Requests, Plaintiff states that "the above-captioned matter is a
Whistle Blower/Wrongful Termination/possible Discrimination claim by the Plaintiff" Exhibit
A,p. Ll.

7. Under Pennsylvania law, a plaintiff who has merely filed a writ of summons is
only permitted to seek "pre-complaint discovery where the information sought is material and
necessary to the filing of the complaint and the discovery will not cause unreasonable,
annoyance, embarrassment, oppression, burden or expense to any person or party." Pa,R.Civ.P.
4003.8(a).

8, A plaintiff seeking pre-complaint discovery must meet two requirements: (1) he is
required to aver that but for the discovery request, he will be unable to formulate a legally
sufficient pleading; and (2) he must describe with reasonable detail the materials sought, and
state with particularity probable cause for believing the information will materially advance his
pleading. McNeil v. Jordan, 894 A.2d 1260, 1278 (Pa. 2006). Plaintiff in this case cannot meet
either requirement.

9, The information Plaintiff seeks in the Discovery Requests is not necessary to the
filing of a complaint containing whistle blower, wrongful termination and discrimination claims.
Such claims can be asserted based on Plaintiff's knowledge of his employment history and the
circumstances surrounding his separation therefrom.

10. Additionally, Plaintiff has not described how the materials sought will materially
advance his pleading - because it won't.

11. Plaintiff's Discovery Requests request information such as:

© The identity of all witnesses who spoke with Plaintiff
concerning any deficiencies in his work performance;
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e Any statements attributed to witnesses who spoke with Plaintiff
concerning his work performance;

e Copies of all employee benefit plans, summaries, employee
handbooks, and policies/procedures in effect at the time of
Plaintiff's termination;

e Information related to prior age discrimination claims and
lawsuits asserted against VisionQuest;

e A full roster of all individuals employed by VisionQuest as of
Plaintiff's separation;

2 Information regarding reportable incidents under Title 55 of the
Pennsylvania Code; and

e Other information concerning VisionQuest's policies.

See Exhibit A.

12. This information, while possibly relevant to Plaintiff's claims after sufficiently
plead in a complaint, will not materially advance Plaintiff's preparation of his complaint.

13. Moreover, this Court should not permit Plaintiff discovery on claims that are
cuttently before the PHRC. Permitting such discovery, would enable Plaintiff to circumvent the
administrative process required by both the Pennsylvania Human Relations Act and the Age
Discrimination in Employment Act and would force VisionQuest to respond to the PHRC's
investigation requests, as well as Plaintiff's Discovery Requests on the same claim(s).

14. Accordingly, the Plaintiff's Discovery Requests are unduly burdensome and
creates an undue expense,

15. Because Plaintiff is not entitled to pre-complaint discovery in this case, Defendant

moves for a protective order to prohibit pre-complaint discovery pursuant to Pa.R.C.P. 4003.8.
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WHEREFORE Defendants respectfully request this Honorable Court to enter an Order
granting Defendants Motion For Protective Order To Prohibit Pre-Complaint Discovery in
accordance with Pa.R.C.P. 4003.8.

Respectfully Submitted,

Gregory A. Miller (P469807)/)
eregory.miller@bipc.com

Erin J. McLaughlin (PA 202044)
erin, mclaughlin@bipc.com

 

BUCHANAN INGERSOLL & ROONEY PC
One Oxford Centre

301 Grant Street, 20th Floor

Pittsburgh, PA 15219

Phone: 412-562-3960/392-2090

Fax: (412) 562-1041

Attorneys for Defendant
VisionQuest National, Ltd.
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IN THE COURT OF COMMON PLEAS OF VENANGO COUNTY, PENNSYLYANIA
, CFVIL DIVISION

JOSEPH VANCE,
Plaintiff,
Vv.

VISIONQUEST,
Corporation,

INC., an Arizona

Defendant.

JURY TRIAL DEMANDED

CIVIL DIVISION
NO.: 273 of 2009
TYPE OF PLEADING:

FIRST SET OF INTERROGATORIES
AND REQUESTS FOR PRODUCTION OF

DOCUMENTS DIRECTED TO

DEFENDANT

FILED ON BEHALF OF PLAINTIFF

COUNSEL OF RECORD FOR THIS PARTY:

ROLF LOUIS PATBERG, ESQUIRE
PA LD. NO.: 65185

PATBERG, CARMODY & GING
DEUTSCHTOWN CENTER

801 VINIAL STREET - THIRD FLOOR
PITTSBURGH, PA 15212

(412) 232-3500
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IN THE COURT OF COMMON PLEAS OF VENANGO COUNTY, PENNSYLVANIA
CIVIL DIVISION

JOSEPH VANCE, ) CIVIL DIVISION
)
Plaintiff, ) NO.: 273 of 2009
V.

)
)
)
VISIONQUEST, INC., an Arizona )
Corporation, )

)

Defendant. ) JURY TRIAL DEMANDED

FIRST SET OF INTERROGATORIES AND REQUESTS FOR PRODUCTION OF
DOCUMENTS DIRECTED TO DEFENDANT

AND NOW, comes the Plaintiffs, by and through their attorney, Rolf Louis Patberg, Esquire
and Patberg, Carmody & Ging and files the foregoing First Set of Interrogatories and Request for
Production of Documents Directed to Defendant, its attorneys, investigators, the representatives
pursuant to the Pennsylvania Rules of Civil Procedure requesting that the Interrogatories be fully
answered in writing and under oath, within thirty (30) days of service hereto and that the documents
requested be produced at the offices of Patberg, Carmody & Ging, 801 Vinial Street - Third Floor,
Pittsburgh, PA-15212.

INTRODUCTORY STATEMENT

Pursuant to the Pennsylvania Rules of Civil Procedure 4003 8, the above-captioned matter
is a Whistle Blower/Wrongful Termination/possible Discrimination claim by the Plaintiff, who was |
a former employee at VisionQuest, The Plaintiff, J oseph Vance, is an adult individual with a
Master’s Degree and an Education Specialist Degree, who worked last as a Chief at the Buffalo

Soldier Academy at VisionQuest,
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Plaintiff intends to make claims for wrongful termination, wage, and hour violations, under
the Pennsylvania Whistleblower Law and such other claims arising from his termination.

Specifically, the Plaintiff is seeking information to prepare a Complaint in this matter to
establish his wrongful termination, which occurred in November 2008. Plaintiff seeks information,
including information from his personnel file, do cumented markings, performance evaluations, and
such other specific information as is mentioned in the herein discovery requests for the purposes of
obtaining discovery in this case.

Plaintiff certifies that the information herein is material and necessary to the filing of the
Complaint and the discovery will not cause unreasonable annoyance, embarrassment, oppression,
burden or expense as to the Defendant, as contemplated by Pa. R.C.P. 4003.8(a).

The discovery in this matter will materially advance the preparation of the Complaint, as
Plaintiff does not have access to the requested information and such information is necessary and
pertinent to allegations of wrongful termination and violations of the Pennsylvania Whistleblower

Law, 43 P.S. §1421 et seq.
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INSTRUCTIONS AND DEFINITIONS

1) In responding, you are to provide the answers to each document request or
subsection thereof. If there is insufficient space, attach supplemental pages for the answers.

2) Each reply to Request for Production Documents and part thereof shall identify
the specific document and part thereof to which it responds.

3) If you object to any Request, state the objection in the manner prescribed by the
Pennsylvania Rules of Civil Procedure and the Local Rules of Court for the Court of Common Pleas
of Allegheny County, Pennsylvania.

4) These Document Requests ate deemed to be continuing, with supplemental
responses signed and under oath required in the event you discover ot come into possession any
additional documents after the date of your prior response,

5) Except as otherwise specified, all defined terms, whether or not capitalized, shall
be construed in accordance with the Definitions provided in these "Instructions and Definitions".

6) Time period: These Documents Requests are deemed to be construed to cover the
period of January 1, 1985 to the present.

7) The term "Plaintiff" means the Plaintiff and each, any and every agent or
representative of the Plaintiff. |

8) The term "Defendant" means the Defendant and each, any and every agent or
representative of the Defendant.

9) The term "do cument" means all and any kind or printed, typed, recorded, written,
graphic or photographic matter (including audio and/or video tape recordings), however printed,
produced, reproduced, kept or stored, of any kind or description, whether sent or received or not,

- including originals, copies, reproductions, facsimiles, drafts, and both sides thereof, and including
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without limitation: papers; books; accounts; magazines; statements; orders; order forms; letters;
photographs; drawings; sketches; blue prints; specifications; correspondence; telegraphs; cable; telex
messages; memoranda; notes, notations; workpapers: routing slips; interoffice and intraoffice
communication; intradepartmental and interdepartmental communication; communications to,
between or among directors, officers, agents or employees; transcripts; minutes; reports; recordings
of telephone or other conversations; or of interviews, conferences, committee meetings, or other
meetings; affidavits; summaties; opinions; entices, studies; analysis; forecast, projections;
evaluations; contracts; licenses; agreements, notebooks; entries; ledgers; journals, books of record
or account; summaries of accounts, balance sheets; income statement, audited workpapers; tax
records and workpapers; questionnaires; answers to questionnaires; statistical records; catalogs;
advertisement; brochures; circulars; appointment books; diaries; telephone logs; expense accounts;
lists; test results; tabulations; charts; graphs; mats; surveys, sound and/or video recordings; data
sheets; computer tapes and disks; magnetic tapes; punch cards; computer printouts; data processing
input and output; computer files; computer programming; computer program coding sheets;
microfilm. microfiche; all other records kept by electronic, photographic or mechanical means, and
anything similar to and any of the foregoing regardless of their author or origin, or ary kind, however
denominated.

10) The term "document" does not include any pleadings already served upon a
Defendant it does not include any documents already sent by the Plaintiff.

11) The term "identify" with regard to a document means to set forth such
information. as is necessary to identify the document with particularity, including, but not limited to,
a statement of the date ofthe document, the type of documents, the identity of the authors, addresses,
and any other persons to whom the documents was shown or distributed, any filing or identifying

number, and the present or last known location and/or custodian thereof.
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12) The term "identify" with regard to a person means to supply that person's full
name, last known residence address, telephone number, last known business address, company
affiliation, title and business telephone number.

13) All company's names appearing in this discovery request includes the company
named in the Request, that company under any other name but which it is or has been. known, and

it predecessors and successors under any name,
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1. Please identify the names, employer, and addresses of all witnesses who Defendant

knows spoke with Plaintiff concerning any deficiencies in his work performance from January 1,

2,006 until his termination, Please also state the nature and content of said discussion and date of the

same,

2. As to each person named in Answer to Interrogatory Number 1, please state whether

you have a statement in your possession given by or attributed to any such person whether signed,

unsigned, adopted or approved by any of them. Ifso, please attach said statements.

 
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3. Please produce copies ofall employee benefit plans, summaries, employee handbook
and Defendant’s employment polices/procedures which were in effect at the time of Plaintiff's
termination,

4, Has the Defendant ever been sued by a former employee for alleged discrimination

or violation of the Age Discrimination in Employment Act ot corresponding state statute prohibiting

discrimination?
Case 1:09-cv-00284-TMH -Document 1-1 Filed 11/10/09 Page 41 of 52

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5. If the Answer to the prior Interrogatory is in the affirmative, indicate the following:

a. The name or names of any attorney who repres ented the Plaintiffwith respect
to such claim or suit; ,

b. The person, persons, firm, or firms against whom such claim or suit was filed

and their insurance carrier or carriers; and

c. If suit was actually filed, indicate the Court in which suit was filed and the

number and the term or other Court designation of the case or cases,
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6. Pleaseproducea copy of each and every correspondence by ot between Joseph Vance,

on the one hand, and any representative of the Defendant, on the other hand, concerning Vance’s

employment.

7, Did the Defendant ever receive any complaints concerning Plaintiff's work

performance? If so, please identify the date, nature and author of said complaint and, if written,

produce a copy of the same.
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8. Please produce a fall and complete roster of all individuals employed by the

Defendant as of the date of the Plaintiff's firing.

9, Please produce the full personnel file, with all documentation regarding the hiring
transferring, termination, discipline, work evaluations, job performance evaluations, or such other
evaluative documents including, but not limited to, the personnel file, human resources file,
supervisor file, private supervisor file, employee file, computer filings and documentation, or any

other such documentation for J oseph Vance.
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10. Please produce full and complete copies of each and every document in your care,
custody and control, including internal memos, correspondences, employment records, human
resource records, supervisor evaluations, or any other such documentation that refers or relates to
Joseph Vance’s complaints of staffratio violations as contemplated by Title 55 of the Pennsylvania

‘Code from January 1, 2007 onward, as well as complaints by any other employee of the Defendant.

11. Does the Defendant have written policies concerning staffing ratios in place at its

Venango County facility as contemplated. by Title 55 of the Pennsylvania Code. If so, please

produce copies of the same.
Case 1:09-cv-00284-TMH Document 1-1 Filed 11/10/09 Page 45 of 52
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es in place as contemplated by

12. Did the Defendant have written policies and procedur

55 Pa, Code §3800.16(b) from January 1, 007 through November 2008? Ifso, please produce a

copy of the same,

13. Did the Defendant have any reportable incidents as contemplated by 55 Pa. Code

§3800.16(a) from January 1, 2007 through November 2008 at its Venango County facility? Iso,

did the Defendant report the same to an appropriate governmental agency?
Case 1:09-cv-00284-T MH Document 1-1 Filed 11/10/09 Page 46 of 52
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14. If the answer to the preceding discovery request is in any way in the affirmative,

_ please produce any and all such documentation that refers or relates to the same.

15, As of 2008, did the Defendant have a policy in place pertaining to child care

supervisors as contemplated and/or referred to by 55 Pa. Code §3 800.542 Ifso, please produce a

copy of the same.
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16. As of 2008, did the Defendant have a policy in place pertaining to child care

supervisors as contemplated and/or referred to by 55 Pa. Code §3800.55? If so, please produce a

copy of the same.

17. As of 2008, did the Defendant have a policy in place pertaining to child care

supervisors as contemplated and/or referred to by 55 Pa. Code §3800.57? If so, please produce a

copy of the same.
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If portions of the Answers to these Interrogatories were prepared by an expert, attach his

report or have that expert sign below.

 

RESPECTFULLY SUBMITTED: -

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DATE: UY 7 7-0 7 B

 

 

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Louis Path fe, pare
PA LD. Ne CY

PATBERG, CARMODY & GING
Deutschtown Center
801 Vinial Street - Third Floor
- Pittsburgh, PA 15212
(412) 232-3500

Attorney for Plaintiff.
Case 1:09-cv-00284-TMH Document 1-1 Filed 11/10/09 Page 49 of 52
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CERTIFICATE OF SERVICE
I, Rolf Louis Patberg, Esquire, hereby certifies that a true and correct copy of the foregoing

First Set of Interrogatories and Requests for Production of Documents Directed to Defendant was

forwarded this / day of April, 2009 via postage prepaid United States Mail to the following:

Vision Quest National, Ltd.
Attn; Heidi Brent
600 North Swan Road
Tucson, AZ 85711

 

 

 
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IN THE COURT OF COMMON PLEAS OF VENANGO COUNTY, PENNSYLVANIA
CIVIL DIVISION

JOSEPH VANCE,
Plaintiff,
No, 273 of 2009
Vv.

VISIONQUEST NATIONAL, LTD.,

Defendant.

NOTICE OF PRESENTATION
Please take notice thatthe within Motion For Protective Order To Prohibit Pre-Complaint

Discovery will be presented on May 27, 2009.

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Erin J, McLauglllin [/ , ()
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IN THE COURT OF COMMON PLEAS OF VENANGO COUNTY, PENNSYLVANIA
CIVIL DIVISION

JOSEPH VANCE,
Plaintiff,
NO. 273 of 2009
v.

VISIONQUEST NATIONAL, LTD.,

Defendant.

ORDER OF COURT

AND NOW, this _day of , 2009, upon consideration of the Defendant's
Motion For Protective Order to Prohibit Plaintiff's Pre-Complaint Discovery, it is hereby
ORDERED, ADJUDGED AND DECREED that said Motion is GRANTED and Plaintiff's First

Set of Interrogatories and Requests for Production of Documents is quashed.

 
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CERTIFICATE OF SERVICE
Thereby certify that true and correct copies of the foregoing Notice of Presentation,
Motion For Protective Order Prohibiting Pre-Complaint Discovery, and Proposed Order of Court
have been served this 24 day of April, 2009, by United States mail, first class, postage prepaid, to
the following counsel of record:
Rolf Louis Patberg
Deutschtown Center

801 Vinial Street - Third Floor
Pittsburgh, PA 15212

Erin J. McLdughlin () / (|
